






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00528-CV






In re Tina Marie Mortland






ORIGINAL PROCEEDING FROM HAYS COUNTY





M E M O R A N D U M   O P I N I O N


		Tina Marie Mortland pleaded guilty to the offenses of fraudulent filing of a
financial&nbsp;statement and retaliation and was placed on community supervision.  She has now filed an
original application for writ of habeas corpus in this Court.  This Court's original jurisdiction to issue
a writ of habeas corpus is limited to those cases in which a person's liberty is restrained because the
person has violated an order, judgment, or decree entered in a civil case.  See Tex. Gov't Code Ann.
§&nbsp;22.221(d) (West 2004).  Because Mortland's application arises from an order entered in a criminal
case, not a civil case, we have no jurisdiction to consider it.

		We dismiss the application for writ of habeas corpus for want of jurisdiction.


							____________________________________

							Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Filed:   August 31, 2010


